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THE HONORABLE JAMES L. ROBART

UNlTED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHlNGTON

AT sEA'rTLE
oRoANo GoLD INT'L, INC., a Nevada
corporation,
Plaimiff’ No. 2;18-cv-00108-JLR
V.

ST[PULATED l\/IOTION FOR ORDER

AUSSIE RULES MARNE SERVICES, LTD., a
foreign corporation; GREG NORMAN, a Florida Note on Calendar:
resident, and ABG-SHARK, LLC, a Delaware l\/larch 7, 2018

limited liability company,

Defendants.

 

 

 

STIPULATION
Defendants’ filed their Motion to Disiniss or, Alternatively Motion to Transfer Venue on
February 20, 2018 (DKT. No. 8). The l\/lotion is currently noted for l\/larch 16, 2018. During the
time in Which Plaintiff has to prepare their Response, Plaintifi’s General Counsel is on a long-
planned Vacation for two Weeks and Plaintist lead counsel is also _on a planned one Weel<
vacation, and are unable to participate in preparing the Response. h P`?‘:`\ G' w\%, walk
Therefore, the parties stipulate to continuing the noting date,\for Defenda'nts’ to tile their

Response to Plaintiff’ s Motion to Disrniss to March 30, 2018.'

 

 

Dated this 7th day of March, 2018. Dated this 7th day of March, 2018.
ToUsLEY BRAIN sTEPHENs PLLC STOEL RIVES, LLP
By: /s/Kevin A. Bai) By: /S/James M Shore

STlPULATED MOTION FOR ORDER TOUSLEY BRAIN STEPHENS PLLC

1700 Seventh Avenue, Suite 2200
(2:18~cV-00108-ILR) - l Seame, vvashingion 98101
TEL. 206.682.5600 v FAX 206.682.2992

 

 

 

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Attomeysfor Plal'ntiffOrgano Gold Int'l,
Inc. BILZIN SUMBERG BAENA PRICE

Admz'z‘ted Pro Hac Vice

By: /S/ Jose M Ferrer
lose l\/l. Ferrer, Florida Bar #173746
jferrer§a§blizin.com

 

Attorneys fbr Defendants Aussie Marine
Services, Ltd, Greg Norman, ABG-Shark,
LLC

ORDER

Based on the foregoing Stipulation of the parties, the Court finds there is good cause to

continue the noting date. THEREFORE, the stipulated motion is GRANTED. This matter shall

be continued to April 6, 2018. 'P\o.‘w\\~`\§}§ s`m_\\ §\\L `\‘cs w?@“sa_ \e~\ t~\<i.>r-c)/\ 36) ?_<5\3, §

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DATEDthiS "l day ofMarch, 2018.

/""“"\

bivens

The H`o'norable J ames L. Robart

STIPU`LATED MOTION FOR ORDER TOUSLEY BRAIN STEPHENS PLLC

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Case 2:18~cv~00108-JLR Document 13 Fi!ed 03/07/18 Page 3 013

CERTIFICATE OF SERVICE

1 hereby certify that on l\/larch 7 , 2018, I electronically filed the foregoing With the

Clerl< of the Couit using the Cl\/l/ECF system Which Will send notification of such filing to all

parties registered on the Cl\/I/ECF system. All other parties (if` any) shall be served in

accordance With the Federal Rules of Civil Procedure.

DATED at Seattle, Washington, this 7 th day of l\/larch, 2018.

5881/006/494299.1

STIPULATED MOTION FOR ORDER

(2:18-cv-00108-JLR) - 3

/‘-‘

/s/Kevl`n A. Bczv

Kevin A. Bay, WSBA #19821
l<bay@tousley.com

Attomeys for Plaintiff

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